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3                              UNITED STATES DISTRICT COURT

4                                     DISTRICT OF NEVADA

5                                                 ***

6    TERRANCE WALKER,                                   Case No. 3:18-cv-00132-MMD-CBC

7                                    Plaintiff,
                                                                      ORDER
8           v.

9    INTELLI-HEART SERVICES INC., et al.,

10                               Defendants.

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12          The Court previously denied Plaintiff’s motion for extension of time to have until

13   after completion of discovery to respond to Defendant Daniel Germain’s motion to

14   dismiss. (ECF No. 166.) For the same reason, the Court denies Plaintiff’s motion for

15   extension of time (ECF No. 170) until after completion of discovery to respond to

16   Defendants Intelli-heart Services, Inc. et. al.’s motion to dismiss (ECF No. 169).

17          Plaintiff also filed a motion to strike Germain’s motion to dismiss (ECF No. 165), a

18   motion to strike Germain’s declaration (ECF No. 168) and a motion to strike Intelli-heart

19   Services’ motion to dismiss (ECF No. 173). The Court denies these three motions to

20   strike (ECF Nos. 165, 168, 173), as these motions are improper under Fed R. Civ. P.

21   Rule 12(f), which permits the Court to strike from a pleading any redundant, immaterial,

22   impertinent, or scandalous matter. See Roadhouse v. Las Vegas Metro. Police Dep’t,

23   290 F.R.D. 535, 543 (D. Nev. 2013); see also Hrubec v. Nat’l R.R. Passenger Corp., 829

24   F. Supp. 1502, 1506 (N.D. Ill. 1993) (denying a motion to strike a motion and its

25   memorandum in support of that motion, holding that “[n]either of the offending items,

26   however, constitutes a pleading.”); Bd. of Educ. of Evanston Twp. High Sch. Dist. No.

27   202 v. Admiral Heating & Ventilation, Inc., 94 F.R.D. 300, 304 (N.D. Ill. 1982) (denying a

28   motion to strike when “the offending footnote is in a memorandum, not a pleading.”)
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2           The Court denies in part Plaintiff’s motion for leave to file excess pages (ECF No.

3    175 (errata filed as ECF No. 177)), where Plaintiff seeks to file a combined 60-page

4    response to essentially two motions to dismiss that total 35 pages (ECF No. 159 is 11

5    pages; ECF No. 169 is 24 pages). To the extent Plaintiff wishes to file a combined

6    response, Plaintiff is granted leave to file a combined response of 40 pages in length.

7           To avoid delay in resolution of this case, the Court denies Intelli-heart Services’

8    motion to stay briefing (ECF No. 179) and Germain’s motion to stay briefing (ECF No

9    178). But in light of the various requests to extend the deadline (see e.g., ECF No. 178

10   (asking in the alternative for a 60 day extension to respond to Plaintiff’s motion for partial

11   summary judgment); ECF Nos. 170 (asking until stay of discovery to respond)), the

12   Court will grant the parties a limited extension of time. The deadline for the parties to

13   respond to the motions to dismiss (ECF Nos. 159, 169) and motions for partial summary

14   judgment (ECF Nos. 158, 171) is extended to June 14, 2019.

15          DATED THIS 14th day of May 2019.

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                                                       MIRANDA M. DU
18                                                     UNITED STATES DISTRICT JUDGE

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